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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 24-cv-22523-KMM

   KENNY ORTEGA,

          Plaintiff,
   v.

   MIAMI DADE COUNTY and
   JOSEPH DIAZ, individually,

          Defendants.


                 ORDER GRANTING DEFENDANT JOSEPH DIAZ’ MOTION
                    TO EXTEND STAY OF PROCEEDINGS PENDING
                   RESOLUTION OF THE PARALLEL CRIMINAL CASE

          THIS CAUSE came before the Court on the [DE ] Motion to Extend Stay of

   Proceedings Pending Resolution of the Parallel Criminal Case; and the Court having reviewed

   said Motion and being otherwise duly advised in the premises, it is upon consideration,

          ORDERED AND ADJUDGED that the motion is GRANTED.

          This cause is stayed until                          .

          DONE AND ORDERED in Chambers at the United States District Courthouse at

   Miami, Florida, on this               day of                       , 2025.




                                                       HON. K. MICHAEL MOORE
                                                       United States District Judge


   Copies to Counsel of Record.
